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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

  DAYTON AREA CHAMBER OF
  COMMERCE, et al.,
                 Plaintiffs,                            No. 3:23-cv-00156-MJN-PBS
                 v.                                       Judge Michael J. Newman
  XAVIER BECERRA, et al.,                           Magistrate Judge Peter B. Silvain, Jr.
                 Defendants.



                 PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF
                           SUPPLEMENTAL AUTHORITY

       The July 31 decision of the district court in Novo Nordisk, Inc. v. Becerra, 23-cv-20814

(D.N.J.) (“Novo”)—following that court’s rejection of constitutional challenges to the Inflation

Reduction Act’s price-control scheme in Bristol Myers Squibb Co. v. Becerra, No. 23-cv-3335

(D.N.J.) and Janssen Pharmaceuticals, Inc. v. Becerra, No. 23-cv-3818 (D.N.J.) — should have no

bearing on this Court’s decision here, for several reasons. See Dkt. 101 (Defendants’ notice of

supplemental authority regarding Novo); Dkt. 101-1 (Novo slip op. (“Op.”)).

       First, much of Novo’s briefing focused on challenges to CMS’s guidance implementing the

IRA’s price-control program. Plaintiffs here, in contrast, challenge only the constitutionality of the

statute and have not brought a constitutional or statutory challenge to CMS’s guidance. Much of the

court’s decision in Novo is therefore not relevant to this case. And unlike Plaintiffs here, Novo did

not challenge the constitutionality of the statute under the Constitution’s Excessive Fines Clause or

as exceeding Congress’s enumerated powers.

       Second, like the district court’s opinion in BMS/Janssen, the Novo opinion did not adequately

grapple with the arguments that the program is coercive or violates the unconstitutional conditions

doctrine. The district court explained that it “rejected these same arguments in BMS-Janssen”
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because it found no “legal compulsion that obligates participation in either Medicare or the Program.”

Op. 8–12. As in BMS/Janssen, however, the district court failed even to mention National Federation

of Independent Business v. Sebelius, 567 U.S. 519 (2012) (NFIB). NFIB makes clear that

unconstitutional coercion can occur without direct “legal” compulsion; in NFIB, although the federal

government did not directly compel states to accept the Affordable Care Act’s transformational

expansion of Medicaid, the Supreme Court held that the government could not indirectly pressure

states to do so by leveraging preexisting Medicaid funding. See Dkt. 64 at 33–35. Other

unconstitutional-conditions cases reflect the same principle. See id. at 30–32. Moreover, the district

court ignored the argument that, in any event, manufacturers are legally required to remain in the

program for at least 11 to 23 months, despite the government’s attempt to rewrite the statute through

non-binding guidance. See id. at 28–30.

       Third, the Novo opinion misconstrued the relevant separation-of-powers and nondelegation

principles and failed to consider how a lack of statutory standards and a lack of judicial review of

key agency decisions combine to make the program an unprecedented delegation of power. See Op.

13–17. Reducing the separation-of-powers inquiry to a toothless application of the “intelligible

principle” test, the court found sufficient that Congress had established an administrative price-

control program, set a ceiling for the so-called “maximum fair price” (but not a floor), and identified

non-binding “factors” for the agency to consider. Op. 15–16. The court ignored that the statute

defines the “maximum fair price” as whatever price CMS selects (without judicial review) and thus

grants an agency unprecedented price-setting discretion. See Dkt. 60 at 47–59. The court also

mistakenly treated the absence of judicial review as irrelevant. See Op. 17; Dkt. 60 at 49–53.

       In sum, the Novo opinion should have no effect on this Court’s decision.




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Dated: August 8, 2024                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2024, a true and correct copy of the foregoing Plaintiffs’
Response to Defendants’ Notice of Supplemental Authority was electronically filed with the Clerk
of Court using the CM/ECF system which will send notification to all counsel of record.

                                            /s/ Tami Hart Kirby
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